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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

PIH HEALTH HOSPITAL -                             )
WHITTIER, a California non-profit                 )
public benefit corporation; and PIH               )
HEALTH HOSPITAL - DOWNEY, a                       )
California non-profit public benefit              )
corporation,                                      )
                                                  )
               Plaintiff,                         )
                                                  )           No. 24-cv-02779
       v.                                         )
                                                  )           Judge April M. Perry
HEALTH CARE SERVICE                               )
CORPORATION, a Mutual Legal                       )
Reserve Co. d.b.a BLUE CROSS AND                  )
BLUE SHIELD OF ILLINOIS, and                      )
DOES 1 THROUGH 25, INCLUSIVE,                     )
                                                  )
               Defendants.                        )

                                    OPINION AND ORDER

       PIH Health Hospital-Whittier and PIH Health Hospital-Downey, (collectively, “PIH” or

“Plaintiff”), filed this action in Illinois state court on March 1, 2024. See Circuit Court of Cook

County Case No. 2024-L-002321. Plaintiff, a medical care provider, alleges in its complaint

[Doc. 1-1] (the “Complaint”) that it “rendered medically necessary services, supplies and/or

equipment” to certain patients (“Patients”) “until Patients became stable for discharge.” Compl. ¶

15. Health Care Service Corporation, a Mutual Legal Reserve Co. d.b.a Blue Cross and Blue

Shield of Illinois (“HCSC” or “Defendant”) is allegedly financially responsible for the medically

necessary services, supplies, and/or equipment rendered to Patients by Plaintiff. Id. ¶ 16. But

HCSC did not “fully and properly” pay. Id. ¶¶ 20, 22. By this failure, HCSC allegedly (i)

breached its implied-in-fact contract with PIH (Count One), or (ii) owes PIH under the common

law doctrine of quantum meruit (Count Two).
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       On April 5, 2024, Defendant removed this action to federal court. In its Notice of

Removal [Doc. 1], Defendant argues federal question jurisdiction exists under 28 U.S.C. § 1331

because Plaintiff’s state-law claims are completely preempted by the Employee Retirement

Income Security Act of 1974, 29 U.S.C. §1001, et seq. (“ERISA”). On May 3, 2024, Plaintiff

filed a Motion to Remand [Doc. 16], and with it, a supporting memorandum (the “Remand

Memo.”), contesting complete preemption. Defendant later filed its opposition [Doc. 22] (“Opp.

Memo.”), and the Plaintiff its reply [Doc. 23] (“Reply”). For the reasons stated below, the

Motion to Remand [Doc. 16] is granted, and this action is remanded to the Circuit Court of Cook

County, Illinois.

                                        BACKGROUND

        PIH is a medical care provider. Compl. ¶¶ 3-4. HCSC is an insurance company. Id. ¶ 5.

At all relevant times, PIH was party to a written contract (the “Anthem Contract”) with Blue

Cross of California d/b/a Anthem Blue Cross (“Anthem”). Id. ¶ 27. The Anthem Contract

“obligated PIH to medically treat individuals belonging to health plans financed, sponsored,

and/or administered by member companies belonging to the national Blue Cross Blue Shield

Association, of which HCSC is one such member.” Id. “The [Anthem] Contract also obligated

PIH to accept as payment in full monies received from Blue Cross Blue Shield Association

member companies (such as HCSC) that were made at the discounted rates found within the

[Anthem] Contract.” Id. ¶ 28. For HCSC plan enrollees to take advantage of these discounted

rates, they needed to present to PIH a “Blue Card” (a program identification card) issued to them

by HCSC. Id. ¶ 30.

       Between September 2018 and April 2021, PIH provided medical treatment to the twenty

(20) Patients identified in Exhibit A to the Complaint. Id. ¶ 12. PIH alleges that each of the



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Patients were “enrollees and/or beneficiaries of health plans sponsored, financed, administered,

and/or funded by HCSC” and presented a Blue Card to PIH at the time of their hospital stays. Id.

¶ 13. At some point (the parties suggest different orders of operations), PIH submitted its bills to

either Anthem or HCSC directly (again, the parties disagree) and “coordinated with HCSC to

determine whether the Claims were payable.” Opp. Memo. at 3 (suggesting submission to

Anthem after treatment); Compl. ¶ 14, 18, 36-37 (suggesting submission to HCSC and

preauthorization of treatment). PIH alleges that it “received authorization for treatment from

HCSC” as to each of the Patients’ care, id. ¶ 14, though Defendant disputes this at least as to one

Patient, Opp. Memo. at 9.

       Plaintiff brings two counts in its Complaint. The first is for breach of an implied-in-fact

contract, and centers around the following allegations: “[E]ach time one of the Patients presented

to PIH their HCSC-issued ‘Blue Card’ . . . and/or otherwise identified themself as being a

member/beneficiary of a health plan financed, sponsored, and/or administered by” HCSC, an

implied-in-fact contract arose between PIH and HCSC by “which PIH agreed to render to that

Patient all medically necessary services, supplies, and/or equipment needed by that individual

and secondarily agreed to accept as payment, in full, monies received from HCSC that were in

conformance to the discounted rates found in the [Anthem] Contract.” Id. ¶¶ 31-33. The implied

contract was formed by industry custom and practice, and through the prior course of conduct

between the parties, which included communications between the parties regarding

authorizations to render care to Patients, the submission of claims by PIH to HCSC, and the

return of payment from HCSC to PIH. Id. ¶¶ 36, 39-40. According to Plaintiff, “HCSC breached

the implied-in-fact contract by underpaying PIH for the medically necessary services, supplies




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and/or equipment rendered or supplied to Patients.” Id. ¶ 46. As a result, PIH suffered damages

in an amount no less than $500,124.21. Id. ¶ 47.

        Plaintiff’s second count seeks recovery under a theory of quantum meruit, and centers

around the following allegations: PIH did not render medical care to Patients gratuitously but

with the understanding and expectation that HCSC would pay for that care. Id. ¶¶ 52, 55, 68. PIH

expected to be paid the “usual and customary value . . . of the necessary medical treatment it

rendered to Patients.” Id. ¶¶ 53, 54; see also id. ¶ 66 (“The reasonable value of the medical care

provided was and is the usual and customary charges of those services . . . .”). In rendering

medical services to Blue-Card carrying Patients, PIH conferred a benefit upon HCSC, and HCSC

implicitly requested that PIH do so through its authorizations of treatment, its “words and prior

and ongoing conduct[,]” its collection of premiums, and industry custom and practice. Id. ¶¶ 58-

60, 69. HCSC unfairly benefited from PIH’s rendering of medical care to Patients in numerous

ways, including by the delivery of those services constituting fulfillment of HCSC’s obligations

to secure medically necessary healthcare for its beneficiaries, which entitled HCSC to retain the

financial reward of premium payments. Id. ¶¶ 41, 61, 69. HCSC also received the benefit of

Patients’ good will when those Patients were treated by PIH, a “first-rate medical facility.” Id. ¶

61. According to Plaintiff, “HCSC unjustly benefitted by not paying fully PIH for the reasonable

value” of the services it rendered, and Plaintiff seeks $1,662,529.60 in damages as a result.

Id. ¶ 66, 69.

        In its removal papers, Defendant contends that jurisdiction exists over PIH’s claim for

payment as to care rendered to one of the twenty Patients (“Patient 9”), the same Patient whose

treatment it says was not authorized. Notice of Removal at 4, 9. It asks the Court to exercise

supplemental jurisdiction over the rest of PIH’s claims. Id. at 12-14.



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       Neither party argues that payment in this case is owed pursuant to an express contract to

which they are both parties. See Opp. Memo. at 3 (“HCSC is not a signatory to the Anthem

Contract, and PIH does not bring a breach of the Anthem Contract claim against HCSC in this

action.”); Compl. ¶ 28 (“HCSC was not a signatory to or obligee of the [Anthem] Contract”). But

Defendant argues that Patient 9’s HCSC-administered benefit plan informs any payment terms

between HCSC and PIH. In support of this argument, it relies on the assertion that coverage as to

Patient 9 was denied in its entirety, and therefore the cause of any alleged underpayment was that

the treatment given to Patient 9 was not authorized. Because any denial of coverage would have

stemmed from the benefit plan’s definition of medical necessity, Defendant claims the Court

must interpret the plan to decide the outcome of this case. Opp. Memo. at 9-10; Notice of

Removal at 9 (“The Claim was denied because it did not include a qualifying service that was

covered under the Plan. . . . PIH’s allegations therefore squarely predicate its claim for recovery

on the terms and conditions of coverage contained in the ERISA Plan.”).

       Plaintiff disagrees. It states that the terms of the implied contract incorporated only its

obligation to provide medically necessary treatment and to accept payment as outlined in the

Anthem Contract. Compl. ¶ 29 (describing PIH’s obligation to accept as payment in full payment

“conforming to the rates found within the [Anthem] Contract”). As to Patient 9’s benefit plan,

PIH argues that medical necessity should not be determined by an “ERISA plan to which

Plaintiff is not a party.” Reply at 7 n.7. That Defendant may have “internally looked to the plan

to determine the extent of coverage” should not, Plaintiff argues, render the benefit plan binding

on Plaintiff, who was not a party to the Patients’ plans and had distinct expectations of payment

under a distinct implied contract. Reply at 10-11.




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                                      LEGAL STANDARD

       With certain exceptions not applicable here, a defendant may remove “any civil action”

from state to federal court in accordance with 28 U.S.C. § 1441(a) if the federal district court

embracing the state court would have “original jurisdiction” over the action. 28 U.S.C.

§ 1441(a). If, however, “at any time before final judgment it appears that the district court lacks

subject matter jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c). “The party seeking

removal has the burden of establishing federal jurisdiction, and federal courts should interpret the

removal statute narrowly, resolving any doubt in favor of the plaintiff’s choice of forum in state

court.” Schur v. L.A. Weight Loss Centers, Inc., 577 F.3d 752, 758 (7th Cir. 2009). When ruling

on a motion to remand, a court “may look beyond the jurisdictional allegations of the complaint

and view whatever evidence has been submitted on the issue[.]’” Alicea-Hernandez v. Cath.

Bishop of Chicago, 320 F.3d 698, 701 (7th Cir. 2003).

       “Ordinarily, determining whether a particular case arises under federal law turns on the

‘well-pleaded complaint’ rule.” Aetna Health Inc. v. Davila, 542 U.S. 200, 207 (2004) (quoting

Franchise Tax Bd. of Cal. v. Construction Laborers Vacation Trust for Southern Cal., 463 U.S.

1, 9–10 (1983)). The Supreme Court has explained that

               whether a case is one arising under the Constitution or a law or
               treaty of the United States, in the sense of the jurisdictional
               statute . . . must be determined from what necessarily appears in
               the plaintiff’s statement of his own claim in the bill or declaration,
               unaided by anything alleged in anticipation of avoidance of
               defenses which it is thought the defendant may interpose.

Id. (quoting Taylor v. Anderson, 234 U.S. 74, 75–76 (1914)). In particular, then, “the existence

of a federal defense normally does not create statutory ‘arising under’ jurisdiction, and ‘a

defendant may not [generally] remove a case to federal court unless the plaintiff's complaint

establishes that the case ‘arises under’ federal law.’” Davila, 542 U.S. at 207.

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       There is an exception, however, to this general rule. When a federal statute “wholly

displaces” the state-law cause of action through complete preemption, a case pleading only state-

law claims can be removed. Davila, 542 U.S. at 207–08. This is so because when a federal

statute completely pre-empts a state-law cause of action, a claim which comes within the scope

of that cause of action is in reality based on federal law. Id. (quoting Anderson, 539 U.S. at 8);

Franciscan Skemp Healthcare, Inc. v. Cent. States Joint Bd. Health & Welfare Tr. Fund, 538

F.3d 594, 596 (7th Cir. 2008) (“Complete preemption, really a jurisdictional rather than a

preemption doctrine, confers exclusive federal jurisdiction in certain instances where Congress

intended the scope of a federal law to be so broad as to entirely replace any state-law claim.”).

       “[T]he ERISA civil enforcement mechanism is one of those provisions with such

extraordinary pre-emptive power that it converts an ordinary state common law complaint into

one stating a federal claim for purposes of the well-pleaded complaint rule.” Franciscan Skemp,

538 F.3d at 596 (internal quotations omitted) (quoting Davila, 542 U.S. at 209). “Congress

enacted ERISA to ‘protect ... the interests of participants in employee benefit plans and their

beneficiaries’ by setting out substantive regulatory requirements for employee benefit plans and

to ‘provid[e] for appropriate remedies, sanctions, and ready access to the Federal courts.’”

Davila, 542 U.S. at 208 (quoting 29 U.S.C. § 1001(b)). Its purpose “is to provide a uniform

regulatory regime over employee benefit plans.” Id. “To this end, ERISA includes expansive pre-

emption provisions,” id. (citing ERISA § 514, 29 U.S.C. § 1144), “which are intended to ensure

that employee benefit plan regulation would be ‘exclusively a federal concern.’” Id. (quoting

Alessi v. Raybestos–Manhattan, Inc., 451 U.S. 504, 523 (1981)). As a result, a “state-law cause

of action that duplicates, supplements, or supplants the ERISA civil enforcement remedy




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conflicts with the clear congressional intent to make the ERISA remedy exclusive and is

therefore pre-empted.” Id. at 209.

       In Davila, the Supreme Court established a two-part test for determining when ERISA

completely preempts a state law claim. (1) “[I]f an individual brings suit complaining of a denial

of coverage for medical care, where the individual is entitled to such coverage only because of

the terms of an ERISA-regulated employee benefit plan,” (2) “and where no legal duty (state or

federal) independent of ERISA or the plan terms is violated, then the suit falls ‘within the scope

of’ ERISA § 502(a)(1)(B)”. Franciscan Skemp, 538 F.3d at 597 (quoting Davila, 542 U.S. at

210)). ERISA § 502(a)(1)(B) provides: “A civil action may be brought—(1) by a participant or

beneficiary— . . . (B) to recover benefits due to him under the terms of his plan, to enforce his

rights under the terms of the plan, or to clarify his rights to future benefits under the terms of the

plan.” 29 U.S.C. § 1132(a)(1)(B).

       Plaintiff and Defendant agree that Davila sets the controlling standard here. They

disagree, however, on the application of that standard, each citing different opinions in support

of their arguments. It is clear from those cases that courts both within and outside of the Northern

District of Illinois “have reached differing results when analyzing breach of implied contract and

quantum meruit claims brought by healthcare providers” against benefit plan administrators.

Stanford Health Care v. Health Care Serv. Corp., No. 23-CV-4744, 2023 WL 7182990, at *3

(N.D. Ill. Nov. 1, 2023) (collecting cases). Before turning to the analysis, then, a note on binding

versus persuasive authority: This Court is bound to apply the law as articulated by the United

States Supreme Court and the Seventh Circuit. District court decisions, on the other hand, are not

authoritative on issues of law, though their reasoning “is of course entitled to respect.” Bank of

Am., N.A. v. Moglia, 330 F.3d 942, 949 (7th Cir. 2003); Colby v. J.C. Penney Co., 811 F.2d



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1119, 1124 (7th Cir. 1987) (“district judges in this circuit must not treat decisions by other

district judges, in this and a fortiori in other circuits, as controlling”). Finally, even the decisions

of another circuit’s court of appeals are not given “automatic deference.” Colby, 811 F.2d at

1123. With these guidelines in mind, the Court proceeds to its analysis.

                                             ANALYSIS

        As the removing party, Defendant bears the burden of establishing that the Court has

jurisdiction over this matter. Schur, 577 F.3d at 758. Defendant argues that Davila’s first prong

is satisfied because Plaintiff could have brought its claims under ERISA as an assignee of an

ERISA beneficiary for at least one of the coverage claims. Opp. Memo. at 6-7. To Defendant, it

“is irrelevant whether PIH brought the action as an assignee. The only question is whether PIH

‘at some point in time, could have brought the claim under [section] 502(a)’ as an assignee.” Id.

at 8 (quoting Davila, 542 U.S. at 210).

        Plaintiff takes a different route. It focuses on distinguishing between state-law claims for

inadequate compensation and claims related to the duties incumbent on benefit plan

administrators to adequately cover plan beneficiaries. Remand Memo. at 8-9; Reply at 4.

Specifically, as to the first prong of Davila, Plaintiff points out that the Seventh Circuit held in

Franciscan Skemp that a provider is not standing in a beneficiary’s shoes when it is not seeking

to enforce rights under an ERISA plan. Reply at 2. Plaintiff argues it is seeking damages as

opposed to benefits, and therefore the correct measure of its recovery should be whatever it is

owed given the “Defendant’s actions and representations relating to the claims in this case and

the history between the parties.” Reply at 5. To Plaintiff, the facts here are the same as the

relevant facts in cases where complete preemption was not found. See Remand Memo. at 8-11;

Reply at 3.



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       As set forth below, the Court finds Plaintiff’s arguments more persuasive. Because the

Court finds jurisdiction lacking, it does not address Defendant’s supplemental jurisdiction

arguments.

       To apply the Davila test for complete preemption the Court must look to the complaint,

the law under which the complaint’s claims are brought, and the language of any governing

documents. See Davila, 542 U.S. at 211. Considering these facts, mandatory authority on

complete preemption requires the finding that PIH’s claims are not completely preempted. The

two cases which most inform this judgment are Davila and Franciscan Skemp. The Court begins

its analysis with a review of those cases.

       In Davila, the respondents sued under the Texas Health Care Liability Act alleging injury

proximately caused by administrators’ decisions not to authorize coverage for treatment

recommended by their physicians. Davila, 542 U.S. at 204. The Supreme Court applied the first

step of its test by noting that the respondents were an individual beneficiary and participant

denied benefits under the terms of ERISA-regulated employee benefit plans, who “could have

paid for the treatment themselves and then sought reimbursement through” an action under

section 502(a)(1)(B). Id. at 211-12. Thus, their suits, though ostensibly brought under a state

statute, were suits by a beneficiary or participant that could have been brought under ERISA to

enforce the respondents’ rights under a benefit plan after denials of coverage for medical care—

the very purpose of ERISA. See id. at 208. Moreover, in applying the second step of its test, the

Supreme Court found that “respondents bring suit only to rectify a wrongful denial of benefits

promised under ERISA-regulated plans, and do not attempt to remedy any violation of a legal

duty independent of ERISA.” Id. at 213. For these reasons, the Court found complete ERISA

preemption and that the case was removable. Id.



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       In Franciscan Skemp, healthcare provider Franciscan Skemp Healthcare (“Franciscan”)

brought state-law claims of negligent misrepresentation and estoppel against employee benefit

plan administrator Central States Joint Board Health and Welfare Trust Fund (“Central States”).

Franciscan Skemp, 538 F.3d at 597. Franciscan had treated a Central States plan participant,

Central States had initially represented that the participant was covered, and both parties had

only later realized the participant had lost her benefits. Id. at 596. Central States refused to pay

for her treatments. Id. Franciscan brought suit in Wisconsin state court, and Central States

removed to federal court on the grounds that the claims were completely preempted by ERISA.

Id. The district court held that the claims were preempted because Franciscan had taken an

assignment of benefits from the beneficiary, filed a claim form with Central States, and thus was

entitled as a beneficiary to bring a claim under ERISA.

       The Seventh Circuit disagreed. It reasoned:

               Franciscan Skemp is not bringing these claims as [the
               beneficiary’s] assignee. Admittedly at first glance it looks like a
               claim that would arise under ERISA—a beneficiary’s assignee
               bringing an action to recover plan benefits. But upon closer
               examination, that is not at all what is happening here.

               Franciscan Skemp is bringing these claims of negligent
               misrepresentation and estoppel, not as [the beneficiary’s] assignee,
               but entirely in its own right. These claims arise not from the plan
               or its terms, but from the alleged oral representations [regarding
               coverage] made by Central States to Franciscan Skemp.


Id. at 597. Thus, the Seventh Circuit did not disagree with the determination that the claim form

evidenced an assignment of benefits; rather, the Court took issue “with the import of that

determination.” Id. What mattered was not that Franciscan could have at some point brought

some claim under ERISA, but that the claims Franciscan in fact brought were assertions of its

own rights, based on facts involving its own interactions with Central States, and not for

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whatever benefits might be due under the plan but for whatever damages might be due under

state law. Id. at 597–98. The complaint’s references to the plan, and the fact that the plan might

play a role in determining the amount of damages, did “not convert the claims into ones for plan

benefits.” Id. Therefore, applying Davila the Seventh Circuit concluded that the claims were not

preempted. Id. at 598.

        The Court agrees with Plaintiff that the situation here is like that in Franciscan Skemp in

all legally significant respects. Rather than claims for misrepresentation and estoppel, PIH brings

claims for breach of an implied-in-fact contract and quantum meruit. In bringing these claims,

Plaintiff asks for relief not as someone entitled to seek benefits under an ERISA-regulated plan,

but in its own right and seeking damages under state law. Plaintiff does so not through artful

pleading, but through the actual content of its allegations. These allegations go to Plaintiff’s own

interactions with Defendant and how, in Plaintiff’s view, those interactions result in violations of

state law.

        Under Illinois law,1 to establish breach of contract, a plaintiff must prove: (1) the

existence of a valid and enforceable contract; (2) substantial performance by the plaintiff; (3) a

breach by the defendant; and (4) damages. Gociman v. Loyola Univ. of Chicago, 41 F.4th 873,

883 (7th Cir. 2022). “An implied-in-fact contract must contain all the elements of an express

contract, but unlike an express contract or other contracts, its terms are inferred from the conduct

of the parties.” Id. The contractual duty is “inferred from the facts and circumstances and the

expressions [on] the part of the promisor which show an intention to be bound.” Id. Given these

elements, it appears Plaintiff’s first count indeed complains of breach of an implied-in-fact

contract, not just in form but in substance. The allegations in the complaint (however meritorious


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        The parties agree that Illinois law governs Plaintiff’s claims, at least for our purposes here. See
        Reply at 9; Opp. Memo. at 11 n.9.
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or unmeritorious they might be) plainly go to the elements of breach of an implied-in-fact

contract: HCSC breached the mutual understanding existing between the parties and implied by

their conduct that HCSC would pay PIH for the services it rendered Patients in accordance with

the rates Defendant had historically paid, as set forth in the Anthem Contract, and as

consideration PIH would treat patients carrying a Blue Card or otherwise identifying themselves

as covered under an HCSC-administered benefit plan.

       To recover under a quantum meruit theory under Illinois law, the plaintiff must prove:

“(1) he performed a service to benefit the defendant, (2) he did not perform this service

gratuitously, (3) defendant accepted this service, and (4) no contract existed to prescribe payment

for this service.” Installco Inc. v. Whiting Corp., 784 N.E.2d 312, 318 (2002). Like with

Plaintiff’s first count (however meritorious or unmeritorious the claims might be), the factual

allegations in support of Plaintiff’s second count plainly complain of a right to payment under

the theory of quantum meruit: it would be unfair to allow HCSC to receive the benefits Plaintiff

conferred upon it by rendering a service to HCSC, indirectly and through Patients’ medical

treatments, without requiring HCSC to pay, where those services were accepted by HCSC

through its words and actions and industry custom and where those services were not given by

Plaintiff as a gift but with the expectation of compensation. Plaintiff’s second count is indeed a

cause of action for quantum meruit, not just in form but in substance.

       These are alleged “wrong[s] not within § 502’s scope.” Franciscan Skemp, 538 F.3d at

598. Unlike in Davila, these are not claims for denied benefits under an ERISA benefit plan but

claims for whatever damages might be due under state law based on PIH’s assertions of its own

rights. Like in Franciscan Skemp, PIH asserts those rights based on its own interactions with

HCSC. And like in Franciscan Skemp, any connection between the benefit plan’s terms and a



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determination of damages for the implied contract and quantum meruit claims would “not

convert the claims into ones for plan benefits.” Franciscan Skemp, 538 F.3d at 597–98.

       Davila did not say that any party which would have had standing to bring any claim

under ERISA is a party whose claims must be preempted. If that had been the standard, the

Supreme Court could have ended its prong-one analysis when it acknowledged that the

respondents were participants and beneficiaries themselves. See Davila, 542 U.S. at 211. But it

did not. Davila instead focused on both the individual bringing the claim and the substance of the

claim(s) that individual actually brought:

               [I]f an individual brings suit complaining of a denial of coverage
               for medical care, where the individual is entitled to such coverage
               only because of the terms of an ERISA-regulated employee benefit
               plan, . . . then the suit falls “within the scope of” ERISA §
               502(a)(1)(B). In other words, if an individual, at some point in
               time, could have brought his claim under ERISA § 502(a)(1)(B), . .
               . , then the individual’s cause of action is completely pre-empted
               by ERISA § 502(a)(1)(B).

Id. at 210 (emphases added). By referring to the complaints brought in the suit and by using the

phrasing “his” claim, the Supreme Court instructed lower courts to look to the substance of the

claims actually brought, not the universe of claims the litigant could have brought. And when the

Supreme Court applied this prong, it did not speak in terms of standing but of the fact that what

the respondents complained of was “only about denials of coverage promised under the terms of

ERISA-regulated employee benefit plans” and that those complaints could have been resolved

through a § 502(a)(1)(B) action. Id. at 211. Thus, the court’s finding that prong one was satisfied

was at least as much about the substance of the claims as it was about the individuals bringing

the claims—both went to whether the claims could have been resolved under ERISA.

       In Franciscan Skemp, the Seventh Circuit similarly looked to both the individual and the

substance of their claims. Franciscan Skemp, 538 F.3d at 597–98. The Court did not focus its

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inquiry on assignment, even when applying prong one to a healthcare-provider plaintiff who

would have required assignment to bring an ERISA claim. And it explicitly rejected the lower

court’s ruling that because Franciscan took an assignment of benefits it could have brought a

claim under ERISA. Id. at 597. Rather, the Seventh Circuit concluded that even though the

provider would have had standing to pursue a claim under ERISA, the provider was not, in fact,

“bringing these claims as [the beneficiary’s] assignee”—“Franciscan Skemp could bring ERISA

claims in [the beneficiary’s] shoes as a beneficiary for the denial of benefits under the plan; but it

has not.” Id. at 598. The court reached this conclusion by analyzing the complaint, the law on

which the complaint’s claims were based, and the language of the relevant documents, precisely

what Davila instructed and what this Court has similarly attempted. 2 For these reasons, the Court

finds that Plaintiff’s claims could not have been brought under ERISA and are not preempted

under Davila prong one.

        Although it is not necessary to proceed to a prong-two analysis given the above findings,

the Court also finds that Davila’s second prong is not satisfied here. In support of its argument

that there is no independent legal duty between the parties outside of the ERISA benefit plan,

Defendant relies most heavily on John Muir Health v. Health Care Serv. Corp., No. 22-CV-

6963, 2023 WL 4707430 (N.D. Ill. July 24, 2023). While the facts of John Muir are similar to

those of this case, there is one glaring difference: The plaintiff in John Muir did not challenge

removal of the case to federal court. The court’s finding that “Defendants have done enough to


2
        Though not controlling, it is worth noting that other courts in this district have similarly refused
        to focus solely on assignment when applying Franciscan Skemp to claims of implied-in-fact
        contract and quantum meruit. See, e.g., Stanford Health Care, No. 23-CV-4744, 2023 WL
        7182990, at *4; Regents of Univ. of California on Behalf of UCLA Health Sys. v. Health Care
        Serv. Corp., No. 22 C 6960, 2024 WL 2209595, at *4 (N.D. Ill. May 14, 2024) (and noting that
        “at least one other court of appeals” found no preemption “where a provider brought state law
        claims for breach of implied-in-fact contract and quantum meruit” (citing Emergency Grp. of
        Ariz. Prof. Corp. v. United Healthcare, Inc., 838 F. App'x 299, 300 (9th Cir. 2021)).
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show that this case falls within ERISA’s realm,” id. at *4, is therefore unsurprising—it is much

easier to meet a burden when there is no adversarial challenge. The fact that the John Muir court

did not have the benefit of adversarial briefing or any dispute from the plaintiff about the topics

addressed herein limits significantly the case’s persuasive value.

        As both parties note, many cases analyzing Davila prong two focus on the issue of

whether the plaintiff’s allegations involve a rate of payment issue (resulting in a finding of no

preemption, because the rates paid to healthcare providers are typically set forth in separate

contracts from ERISA-regulated benefit plans) or a right to payment issue (resulting in a finding

of preemption, because right to payment is typically found to arise from an ERISA-regulated

benefit plan). Indeed, after criticizing the rate/right framework, Defendant embraces its essence,

arguing that prong two requires a finding of preemption because “[f]or the Court to determine

whether PIH is entitled to any payment whatsoever, the Court must consult the Plan terms and

decide whether the services were covered under the Plan’s terms, including whether the services

meet the Plan’s definition of Medical Necessity in order to be covered.” Opp. Memo. at 2. Were

Patient 9’s benefit plan the controlling contract between the parties, Defendant’s argument would

be compelling. But this is not what Plaintiff has alleged. To the contrary, Plaintiff has argued that

it is the Anthem Contract and the relationship between Plaintiff and Defendant that governs the

legal obligations in this case, not an ERISA benefit plan to which it is not a party. Defendant has

not made a sufficient showing to the contrary. 3 Just like in Franciscan Skemp, the patient’s right


3
        Where courts have found preemption owing to a connection between alleged state law claims and
        benefit plan terms, there is typically a much stronger connection between the two sets of legal
        obligations than Defendant has argued. For example, in Lone Star, a case frequently cited for the
        right/rate dichotomy, the Fifth Circuit suggested that preemption might exist for certain claims
        where it was “clear” that a written agreement between the parties referred to a benefit plan to
        determine which services the provider would be paid for—those that were covered, which were
        those that were medically necessary under the benefit plan. Lone Star OB/GYN Assocs. v. Aetna
        Health Inc., 579 F.3d 525, 530 (5th Cir. 2009). And there, the plaintiff specifically alleged that it
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to receive benefits under a benefit plan is not at issue. Franciscan Skemp, 538 F.3d. at 599.

Accordingly, the second prong of Davila is also not satisfied.

        For all of the above reasons, the Court finds that federal subject matter jurisdiction is

lacking. The case is remanded.

                                           CONCLUSION

       Plaintiff’s Motion to Remand [Doc. 16] is GRANTED, and this action is remanded to the

Circuit Court of Cook County, Illinois.




Dated: December 26, 2024                                        ______________________
                                                                APRIL M. PERRY
                                                                United States District Judge




       was owed the rates set forth in the written agreement between the parties (not any distinct implied
       agreement). Id. at 528.


                                                   17
